Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 1 of 14




                   Exhibit C
     Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 2 of 14
                                                                                Electronically Filed
                                                                                8/9/2017 10:35 AM
                                                                                Hidalgo County District Clerks
                                                                                Reviewed By: Alexis Bonilla


                                       CAUSE N09 364017-A

 CRYSTAL MENDENHALL                                         IN THE DISTRICT COURT OF
          Plaintiff;

 V.
                                                            HIDALGO COUNTY, TEXAS
 UNITED PROPERTY & CASUALTY
 INSURANCE COMPANY AND
 CAROLYN REYNOLDS

          Defendants.                                            JUDICIAL DISTRICT

                            PLAINTIFF'S ORIGINAL PETITION

           Crystal Mendenhall ("Plaintiff'), complains of United Property & Casualty Insurance

Company and Carolyn Reynolds (collectively "Defendants") and respectfully shows as follows:

                                           I.
                                DISCOVERY CONTROL PLAN

1.      Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

Rules of Civil Procedure. This case involves complex issues and will require extensive discovery.

Therefore, Plaintiff asks the court to order that discovery be conducted in accordance with a

discovery control plan tailored to the circumstances of this suit.


                             PARTIES AND PROCESS SERVICE

2.      Plaintiff(s) resides in Hidalgo County, Texas.

3.      Defendant United Property & Casualty Insurance Company ("UPC") is an insurance

company engaging in the business of insurance in Texas. This defendant may be served with

process through its registered agent C T Corporation System, 1999 Bryan St. Suite 900, Dallas TX

75201-3136.

4.      Defendant Carolyn Reynolds ("Reynolds") is an individual and an insurance adjuster

licensed by the Texas Depth tment of Insurance. This Defendant may be served with process
     Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 3 of 14
                                                                                   Electronically Filed
                                                                                   8/9/2017 10:35 AM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Alexis Bonilla
                                            C-3640-17-A

through the Texas Secretary of State at P.O. Box 12079, Austin, Texas 78711, for further

forwarding to P.O. Box 1011, St. Petersburg, FL 33731-1011. The Clerk is requested to issue

Citations.

                                             III.
                                        JURISDICTION

5.      Plaintiff seeks monetary relief over $100,000.00 but not more than $200,000.00, excluding

interest and costs. Such damages sought are within the jurisdictional limits of the court. Plaintiff

contends that the determination of damages is within the sole discretion of the Judge and Jury, but

makes stipulation as required by TEx.R.Cw.P. 47.

 6.     The court has jurisdiction over Defendant UPC because this Defendant engages in the

business of insurance in Texas, and because Plaintiffs causes of action arise out of this

Defendant's business activities in Texas.

 7.     The court has jurisdiction over Defendant Reynolds because this Defendant engages in the

business of adjusting insurance claims in Texas, and because Plaintiffs causes of action arise out

of this Defendant's business activities in Texas.

                                               IV.
                                              VENUE

 8.     Venue is proper in Hidalgo County, Texas, because the insured property giving rise to this

cause of action is situated in Hidalgo County, Texas. TEx.Crv.PRAc.REm.CoDE §15.032.

                                        V.
                         NOTICE AND CONDITIONS PRECEDENT

 9.     Defendants have been provided notice, in writing, of the claims made by Plaintiff in this

petition, including Plaintiffs actual damages in the manner and form required.

10.     All conditions precedent necessary to maintain this action and the Claim under the Policy

have been performed, occurred, or have been waived by Defendants; and/or Defendants are


Custal Mendenhall v. United Property & Casualty Insurance Company                              Page 2
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 4 of 14
                                                                                  Electronically Filed
                                                                                  8/9/2017 10:35 AM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Alexis Bonilla
                                          C-3640-17-A

otherwise estopped from raising any conditions precedent due to Defendant's prior breach of the

insurance contract.

                                              VI.
                                             FACTS

11.    Plaintiff is the owner of certain real property with improvement (including Plaintiff's

home) located at 307 W. Leo Naja St., Mission, TX 78572 (the "Property"). The Property was

insured by insurance policy number UTD 7526632 0042, issued by Defendant UPC (the "Policy").

Plaintiff is the owner of the Policy and the named insured on the Policy.

12.    On or about 5/31/2016, or another time when the Policy was in effect, a severe storm caused

substantial damage to the Property and constituted a covered loss under the Policy. After the loss,

Plaintiff made a claim (claim no. 2017TX021339) and demand for payment on Defendant UPC

for damages to the Property and other damages covered by the terms of the Policy (the "Claim").

After Plaintiff made the Claim, Defendant UPC assigned or otherwise retained its employees

and/or agents Defendant Reynolds to work on Plaintiff's Claim. All Defendants failed to comply

with the Policy, the Texas Insurance Code and Texas law in handling Plaintiff's claim. Further,

Defendant UPC has refused to pay all amounts due and owing under the Policy for the Claim.

13.    Defendant Reynolds made numerous errors in estimating the value of Plaintiff's claim, all

of which were designed to intentionally minimize and underpay the loss incurred by Plaintiff.

Defendants Reynolds failed to fully quantify Plaintiffs damages, thus demonstrating that this

defendant did not conduct a thorough investigation of Plaintiff's claim. Defendant conducted a

substandard investigation of Plaintiffs Claim, evidenced by the estimate issued by Defendant

Reynolds and relied upon by Defendant Reynolds. The damage estimate failed to include all

damages to Plaintiffs Property. The damages Defendant Reynolds included in the estimate were

grossly undervalued and did not allow for adequate funds to cover the cost of repairs to all the

Crystal Mendenhall v. United Property & Casualty Insurance Company                            Page 3
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 5 of 14
                                                                                 Electronically Filed
                                                                                 8/9/2017 10:35 AM
                                                                                 Hidalgo County District Clerks
                                                                                 Reviewed By: Alexis Bonilla
                                         C-3640-17-A

damages sustained. Defendants failed to thoroughly review and properly supervise the adjustment

of the Claim, including the inspection of the Property, which ultimately led to approving an

improper adjustment and an inadequately unfair settlement of Plaintiffs claim. Further, Defendant

Reynolds knowingly and intentionally overlooked damages at the Property and used an inadequate

and biased investigation as the basis for erroneously denying a portion of Plaintiffs claim.

Because of Defendant Reynolds's conduct, Plaintiff's claim was underpaid and partially-denied.

14.    Defendant UPC failed to perform its contractual duties to adequately compensate Plaintiff

under the terms of the Policy. Specifically, Defendant UPC refused to pay the full proceeds owed

under the Policy, although due demand was made for proceeds to be paid in an amount sufficient

to cover the damaged property and all conditions precedent to recovery upon the Policy in question

had been satisfied by Plaintiff. Defendant UPC's conduct constitutes a breach of the contract

between Defendant UPC and Plaintiff.

15.    All Defendants misrepresented to Plaintiff that much of the damage to the Property was

not covered under the Policy, even though the damage was covered by the Policy. Defendants'

conduct constitutes a violation of TEx.INs.CoDE §541.060(a)(1).

 16.   All Defendants failed to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of Plaintiffs Claim, when UPC's liability was reasonably clear. Defendants' conduct

constitutes a violation of TEX.INS.CODE §541.060(a)(2)(a).

 17.   All Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, All Defendants did not

communicate that any future settlements or payments would be forthcoming to pay for the entire

loss covered under the Policy, nor did Defendants provide any explanation for the failure to



Crystal Mendenhall v. United Property & Casualty Insurance Company                           Page 4
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 6 of 14
                                                                                   Electronically Filed
                                                                                   8/9/2017 10:35 AM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Alexis Bonilla
                                          C-3640-17-A

adequately settle Plaintiffs claim. Defendants' conduct constitutes a violation of TEx.INs.CoDE

§541.060(a)(3).

18.    All Defendants failed to affirm or deny coverage of Plaintiff's claim within a reasonable

time. Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

the full and entire claims, in writing from Defendants. Defendants' conduct constitutes a violation

of TEX.INS.CODE §541.060(a)(4).

19.    All Defendants refused to fully compensate Plaintiff for the Claim without conducting a

reasonable investigation of the Claim. Rather, Defendants performed an unreasonable outcome-

oriented investigation of Plaintiffs claim, which resulted in a biased, unfair and inequitable

evaluation of Plaintiffs Claim. Defendants' conduct constitutes a violation of TEx.INs.CoDE

§541.060(a)(7).

20.    Defendant UPC failed to meet its obligations under the Texas Insurance Code regarding

the timely acknowledgement of Plaintiffs claim, beginning an investigation of Plaintiffs claim

and requesting all information reasonably necessary to investigate Plaintiffs claim within the

statutorily mandated time of receiving notice of Plaintiffs claim. Defendant UPC's conduct

constitutes a violation of TEx.INs.CoDE §542.055.

21.    Defendant UPC failed to accept or deny Plaintiffs full and entire Claim within the

statutorily mandated time of receiving all necessary information. Defendant UPC's conduct

constitutes a violation of TEX.INS.CODE §542.056.

22.    Defendant UPC failed to meet its obligations under the Texas Insurance Code regarding

payment of claims without delay. Specifically, Defendant UPC has delayed full payment of

Plaintiffs claim longer than allowed and, to date, Plaintiff has not yet received full payment for

Plaintiffs claim. Defendant UPC's conduct constitutes a violation of TEx.INs.CoDE §541.058.



Crystal Mendenhall v. United Property & Casualty Insurance Company                             Page 5
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 7 of 14
                                                                                       Electronically Filed
                                                                                       8/9/2017 10:35 AM
                                                                                       Hidalgo County District Clerks
                                                                                       Reviewed By: Alexis Bonilla
                                             C-3640-17-A

23.       From and after the time Plaintiff's claim was presented to Defendant UPC, the liability of

Defendant UPC to pay the full claims in accordance with the terms of the Policy was reasonably

clear. However, Defendant UPC has refused to pay Plaintiff in full, despite there being no basis

whatsoever on which a reasonable insurance company would have relied on to deny the full

payment. Defendant UPC's conduct constitutes a breach of the common law duty of good faith

and fair dealing.

24.       All Defendants knowingly or recklessly made false representations, as described above, as

to material facts and/or knowingly concealed material information from Plaintiff

25.       Because of all Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the law firm who is representing Plaintiff with respect to these causes of

action.

                                        VII.
                      CAUSES OF ACTION AGAINST DEFENDANT UPC

26.       Defendant UPC is liable to Plaintiff for intentional breach of contract, as well as intentional

violations of the Texas Insurance Code and intentional breach of the common law duty of good

faith and fair dealing.

          A.      Breach of Contract.

27.       The Policy is a valid, binding and enforceable contract between Plaintiff and Defendant

UPC. Defendant UPC breached the contract by refusing to perfonn its obligations under the terms

of the Policy and pursuant to Texas law. Defendant UPC's breach proximately caused Plaintiff

injuries and damages. All conditions precedent required under the Policy have been performed,

excused, waived or otherwise satisfied by Plaintiff, or Defendant is estopped from raising the issue

due to Defendant's prior breach of the insurance contract.

          B.      Noncompliance With Texas Insurance Code: Unfair Settlement Practices.


Crystal Mendenhall v. United Property & Casualty Insurance Company                                 Page 6
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 8 of 14
                                                                                     Electronically Filed
                                                                                     8/9/2017 10:35 AM
                                                                                     Hidalgo County District Clerks
                                                                                     Reviewed By: Alexis Bonilla
                                           C-3640-17-A


28.    The conduct, acts, and/or omissions by Defendant UPC constituted Unfair Settlement

Practices pursuant to   TEX. INS.   CoDE.§541.060(a). All violations under this article are made

actionable by TEX.INS.CODE §541.151.

29.    Defendant UPC's unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. TEx.INs.CoDE

§541.060(1).

30.    Defendant UPC's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

Defendant UPC's liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance.   TEX.NS.CODE


§541.060(2)(A).

31.    Defendant UPC's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEx.Ns.CoDE §541.060(3).

32.     Defendant UPC's unfair settlement practice, as described above, of failing within a

reasonable time to affinn or deny coverage of the claim to Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEx.INs.CoDE §541.060(4).

33.     Defendant UPC's unfair settlement practice, as described above, of refusing to pay

Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method of


Crystal Mendenhall v. United Property & Casualty Insurance Company                               Page 7
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 9 of 14
                                                                                  Electronically Filed
                                                                                  8/9/2017 10:35 AM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Alexis Bonilla
                                         C-3640-17-A

competition and an unfair and deceptive act or practice in the business of insurance. TEX.INS.CODE

§541.060(7).

34.    Defendant UPC's conduct described above compelled Plaintiff to initiate a lawsuit to

recover amounts due under its policy by offering substantially less than the amount ultimately

recovered. Defendant UPC refused to even offer more than its own grossly undervalued estimates

despite actual damages which were much greater. This continued failure compelled Plaintiff to

file suit. TEX.INS.CODE §542.003(5).

       C.      Prompt Payment Of Claims Violations.

35.    The Claim is a claim under an insurance policy with Defendant UPC of which Plaintiff

gave Defendant UPC proper notice. Defendant UPC is liable for the Claim. Defendant UPC

violated the prompt payment of claims provisions of TEX. INS. CODE § 542.051, et seq. by:

       a) Failing to acknowledge receipt of the Claim, commence investigation of the Claim,
          and/or request from Plaintiff all items, statements, and forms that Defendant UPC
          reasonably believed would be required within the time constraints provided by TEX.
          INS. CODE §542.055;

       b) Failing to notify Plaintiff in writing of its acceptance or rejection of the Claim within
          the applicable time constraints provided by TEX. INS. CODE §542.056; and/or by

       c) Delaying payment of the Claim following Defendant 'UPC's receipt of all items,
          statements, and forms reasonably requested and required, longer than the amount of
          time provided by TEX. INS. CODE §542.058.

36.    Defendant UPC's violations of these prompt payment of claims provisions of the Texas

Insurance Code are made actionable by TEx.INs.00DE §542.060.

       D.      Breach Of The Duty Of Good Faith And Fair Dealing.

 37.   Defendant UPC breached the common law duty of good faith and fair dealing owed to

Plaintiff by denying or delaying payment on the Claim when Defendant UPC knew or should have




Crystal Mendenhall v. United Property & Casualty Insurance Company                            Page 8
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 10 of 14
                                                                                    Electronically Filed
                                                                                    8/9/2017 10:35 AM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3640-17-A

known that its liability to Plaintiff was reasonably clear. Defendant UPC's conduct proximately

caused Plaintiff injuries and damages.

                                            VIII.
                                 CAUSES OF ACTION AGAINST
                                   DEFENDANT REYNOLDS

38.    Defendant Reynolds is an insurance adjuster that was assigned or otherwise engaged by

Reynolds to adjust the claim.

       A.      Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

39.    The conduct, acts, and/or omissions by Defendant Reynolds, while adjusting the Claim

constituted Unfair Settlement Practices pursuant to    TEX. INS. CODE. §541.060(a).    All violations

under this article are made actionable by TEx.INs.CoDE §541.151.

40.    Defendant Reynolds is individually liable for unfair and deceptive acts, irrespective of the

fact this Defendant was acting on behalf of Defendant Reynolds, because Defendant Reynolds is

a "person" as defined by TEx.INs.CoDE §541.002(2). The term "person" is defined as "any

individual, corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds

plan, fraternal benefit society, or other legal entity engaged in the business of insurance, including

an agent, broker, adjuster or life and health insurance counselor." TEx.INs.CoDE §541.002(2)

(emphasis added). (See also Liberty Mutual Insurance Co. v. Garrison Contractors, Inc., 966

S.W.2d 482, 484 (Tex.1998)(holding an insurance company employee to be a "person" for the

purpose of bringing a cause of action against them under the Texas Insurance Code and subjecting

them to individual liability).

41.     The unfair settlement practices of Defendant Reynolds, as described above, in

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair




Crystal Mendenhall v. United Property & Casualty Insurance Company                              Page 9
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 11 of 14
                                                                                    Electronically Filed
                                                                                    8/9/2017 10:35 AM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3640-17-A

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEx.INs.CoDE §541.060(1).

42.    The unfair settlement practices of Defendant Reynolds, as described above, in failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEx.INs.CoDE §541.060(2)(A).

43.    The unfair settlement practices of Defendant Reynolds, as described above, in failing to

promptly provide the Plaintiff with a reasonable explanation of the basis in the Policy, in relation

to the facts or applicable law, for the offer of a compromise settlement of Plaintiffs claim,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. TEx.INs.CoDE §541.060(3).

44.     The unfair settlement practices of Defendant Reynolds as described above, in failing within

a reasonable time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEx.INs.CoDE §541.060(4).

45.     The unfair settlement practices of Defendant Reynolds, as described above, in refusing to

pay Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEx.INs.CODE §541.060(7).

46.     The unfair settlement practices of Defendant Reynolds, as described above, compelled

Plaintiff to initiate a lawsuit to recover amounts due under its policy by offering substantially less

than the amount ultimately recovered. Defendant Reynolds refused to even offer more than their




Crystal Mendenhall v. United Property & Casualty Insurance Company                             Page 10
 Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 12 of 14
                                                                                     Electronically Filed
                                                                                     8/9/2017 10:35 AM
                                                                                     Hidalgo County District Clerks
                                                                                     Reviewed By: Alexis Bonilla
                                           C-3640-17-A

own grossly undervalued estimates despite actual damages which were much greater. This

continued failure compelled Plaintiff to file suit. TEx.INs.CoDE §542.003(5).

                                            IX.
                                         KNOWLEDGE

47. Each of the Defendants' acts described above, together and singularly, was done

"knowingly" as that term is used in the Texas Insurance Code and was a producing cause of

Plaintiffs damages described herein.

                                               X.
                                            DAMAGES

48.    Plaintiff will show that all the aforementioned acts, taken together or singularly, constitute

the producing causes of the damages sustained by Plaintiff.

49.    For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiffs bargain, which

is the amount of Plaintiffs claim, together with attorney fees.

50.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the Policy, mental anguish, court costs and attorney's fees. For knowing conduct of

the acts complained of, Plaintiff asks for three times Plaintiffs actual damages. TEx.INs.CoDE

§541.152.

51.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of Plaintiffs claim, as well as eighteen (18) percent interest per annum of

the amount of Plaintiffs claim as damages, together with attorney's fees. TEx.INs.CoDE §542.060.

52.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,




Crystal Mendenhall v. United Property & Casualty Insurance Company                              Page 11
  Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 13 of 14
                                                                                      Electronically Filed
                                                                                      8/9/2017 10:35 AM
                                                                                      Hidalgo County District Clerks
                                                                                      Reviewed By: Alexis Bonilla
                                             C-3640-17-A

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional distress.

53.    For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the law firms whose names are subscribed to this pleading. Therefore, Plaintiff is

entitled to recover a sum for the reasonable and necessary services of Plaintiffs attorneys in the

preparation and trial of this action, including any appeals to the Court of Appeals and/or the

Supreme Court of Texas.

                                              XI.
                                         JURY DEMAND

54.    Plaintiff hereby requests a jury trial and tenders the appropriate jury fee.

                                          XII.
                                REQUEST FOR DISCLOSURE

55.    Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendants disclose

the information or material described in Rule 194.2.

                                                XIII.
                                              PRAYER

56.    WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

Plaintiff has and recovers such sums as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, both as to actual damages, statutory penalties and

interest, treble damages under the Texas Insurance Code and all punitive and exemplary damages

as may be found. In addition, Plaintiff requests the award of attorney's fees for the trial and any

appeal of this case, for all costs of Court on their behalf expended, for pre-judgment and post-

judgment interest as allowed by law, and for any other and further relief, either at law or in equity,

to which Plaintiff may be justly entitled.

                                               Respectfully submitted,


Crystal Mendenhall v. United Property & Casualty Insurance Company                               Page 12
 Case 7:17-cv-00359 Document 1-3 Filed in TXSD on 09/20/17 Page 14 of 14
                                                                            Electronically Filed
                                                                            8/9/2017 10:35 AM
                                                                            Hidalgo County District Clerks
                                                                            Reviewed By: Alexis Bonilla
                                         C-3640-17-A

                                            GREEN & BARTON

                                             By:    /s/ William. T Jones, Jr.
                                                    WILLIAM T. JONES JR.
                                                    State Bar No.: 24032601
                                                    bjones@GBTriallaw.com
                                                    ROBERT D. GREEN
                                                    State Bar No.: 08368025
                                                    green@greentriallaw.com
                                                    DANIEL P. BARTON
                                                    State Bar No.: 00789774
                                                    dbarton@bartonlawgroup.com
                                                    ROY J. ELIZONDO, III
                                                    State Bar No. 24036519
                                                    relizondo@GBLiallaw.com
                                                    1201 Shepherd Drive
                                                    Houston, Texas 77007
                                                    (713) 227-4747- Telephone
                                                    (713) 621-5900- Fax




Crystal Mendenhall v. United Property & Casualty Insurance Company                     Page 13
